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vs. 04-1 001 8-01 -T CLEFE'Y) 155 .»F:§f”€i;§gl‘qum

UNlTED STATES OF AMER|CA

NICHOLAS DEVON GOFF
J. Patten Brown FPD
Defense Attorney
200 Jefferson Ave., Ste. 200
Memphis, TN 38103

 

 

JUDGMENT lN A CRIM|NAL CASE
(For Of'fenses Committed On or After November 1, 1987)

The defendant pleaded guilty to Count 1 of the indictment on lVlay 14, 2004. Accordingly,
the court has adjudicated that the defendant is guilty of the following offense(s):

 

Date Offense Count
Title & Section MB£ Conc|uded Numberj§j
18 USC §922(g) Convicted Felon in Possession of a 12/18/2003 1

Firearm

The defendant is sentenced as provided in the following pages of this judgment. The
sentence is imposed pursuant to the Sentencing Reform Act of 1984 and the l\/landatory
Victims Restitution Act of 1996

lT |S FURTHER ORDERED that the defendant shall notify the United States Attorney for
this district within 30 days of any change of name, residence, or mailing address until all
fines, restitution, costs and special assessments imposed by this judgment are fully paid.

Defendant’s Soc. Sec. No. XXX-XX-XXXX Date of imposition of Sentence:
Defendant’s Date of Birth: 08/04/ 1977 August 11, 2005
Deft’s U.S. l\/iarsha| No.: 19359-076

Defendant’s l\/lai|ing Address:

364 Lexington Street
Jackson, TN 38301

/i/i/M,,D. W

 

Thfe document entered on the docket sheet in compl_lance JAMES _ ODD 1 v
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August Z')/, 2005

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Case No: 1:04cr10018-01-T Defendant Name: Nicho|as Devon Goff Page 2 of 5
lMPR|SONMENT

The defendant is hereby committed to the custody of the United States Bureau of
Prisons to be imprisoned for a term of 51 Months.

The Court recommends to the Bureau of Prisons:

The defendant is remanded to the custody of the United States IV|arshai.

RETURN

| have executed this judgment as follows:

 

 

 

 

 

 

 

Defendant delivered on to
at , with a certified copy of this
judgment
UN|TED STATES lVlARSHAL
By:

 

Deputy U.S. l\/|arshal

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Case No: 1:04cr10018-01-T Defendant Name: Nicholas Devon Goff Page 3 of 5

SUPERV|SED RELEASE

Upon release from imprisonment, the defendant shall be on supervised release for
a term of 2 years.

The defendant shall report to the probation office in the district to Which the
defendant is released within 72 hours of release from custody of the Bureau of Prisons.

While on supervised release, the defendant shall not commit another federal, state
or local crime and shall not possess a firearm, ammunition, or destructive device as defined
in 18 U.S.C. § 921.

The defendant shall refrain from any unlawful use of a controlled substance The
defendant shall submit to one drug test within 15 days of release from imprisonment and
at least two periodic drug tests thereafter, as directed by the probation officer.

The defendant shall comply with the following standard conditions that have been
adopted by this Court_

STANDARD COND|T|ONS OF SUPERV|SION

1. The defendant shall not leave thejudicial district without the permission of the court or probation officer;

2. The defendant shall report to the probation officer as directed by the court or probation officer and shall
submit a truthful and complete written report within the first five days of each month;

3. The defendant shall answer truthful all inquiries by the probation officer and follow the instructions of
the probation officer;

4. The defendant shall work regularly at a lawful occupation unless excused by the probation officer for
schooling, training, or other acceptable reasons;

5. The defendant shall notify the probation officer ten(10) days prior to any change in residence or
employment
6. The defendant shall refrain from the excessive use of alcohol and shaft not purchase, possess, use,

distribute, or administer any narcotic brother controlled substance, or any paraphernalia related to such
substances except as prescribed by a physician, and shall submit to periodic urinalysis tests as
directed by the probation ocher to determine the use of any controlled substance',

7. The defendant shall not frequent places where controlled substances are illegally sold, used,
distributedl or administered;

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B. The defendant shall not associate with any persons engaged in criminal activity, and shall not associate
with any person convicted of a felony unless granted permission to do so by the probation officer;

9. The defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and
shall permit confiscation of any contraband observed in plain view by the probation officer;

10. The defendant shall notify the probation officer within 72 hours of being arrested or questioned by a
law enforcement officer;

11. The defendant shall not enter into any agreement to act as an informer or a special agent of a law
enforcement agency without the permission of the court;

12. As directed by the probation officer, the defendant shall notify third parties of risks that may be
occasioned by the defendants criminal record or personal history or characteristics and shall permit
the probation officer to make such notifications and to confirm the defendant’s compliance with such
notification requirementl

13. lf thisjudgment imposes a fine or a restitution obligationl it shall be a condition of supervised release
that the defendant pay any such fine or restitution in accordance with the Schedule of Payments set
forth in the Crimina| Monetary Pena|ties sheet of this judgment.

ADD|T|ONAL COND|T|ONS OF SUPERV|SED RELEASE

The defendant shall also comply with the following additional conditions of supervised
release:

1. The defendant shall participate as directed in a program (outpatient and/or inpatient)
approved by the Probation Officer for treatment of narcotic addiction or drug or alcohol
dependency which may include testing for the detection of substance use or abuse.

2. The defendant shall cooperate with the Probation Office in the collection of DNA.

CR|M|NAL MONETARY PENALT|ES

The defendant shall paythe following total criminal monetary penalties in accordance
with the schedule of payments set forth in the Schedule of Payments. The defendant shall
pay interest on any fine or restitution of more than $2,500, unless the fine or restitution is
paid in full before the fifteenth day after the date of judgment, pursuant to 18 U.S.C. §
3612(f). All of the payment options in the Schedu|e of Payments may be subject to
penalties for default and delinquency pursuant to 18 U.S.C. § 3612(g).

Total Assessment Total Fine Total Restitution

$100.00

The Specia| Assessment shall be due immediately

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FlNE
No fine imposed
REST|TUT|ON

No Restitution was ordered.

DISTRIC COURT - WESRNTE D"CTRIT oFTENNESSEE

Notice of Distribution

This notice confirms a copy ot` the document docketed as number 52 in
case 1:04-CR-100] 8 Was distributed by faX, mail, or direct printing on
August 15, 2005 to the parties listed.

 

 

J ames W. Povvell

U.S. ATTORNEY'S OFFICE
109 S. Highland Ave.

Ste. 300

Jaekson7 TN 38301

J. Patten Brown
200 Jet`t`erson7 Suite 200
Memphis7 TN 38103

Honorable J ames Todd
US DISTRICT COURT

